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                     Exhibit 7
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             Infringement Claim Chart for U.S. Pat. No. US10491748B1 v. FLIR (“Defendant”)


   Claim11                                             Evidence
11. A method for The Teledyne FLIR customer service platform performs a method for assigning
assigning        communications.
communications
, comprising:    For example, the Teledyne FLIR customer service platform assigns incoming calls
                 (including SMS and live chats) to call center experts or agents.




                Source: Service and Support | Teledyne FLIR




                                                  1
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  Source: Support : GSO Customer support central (flir.com)




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  Source: Submit a ticket : GSO Customer support central (flir.com)




                                     3
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receiving a       The Teledyne FLIR customer service platform receives multiple respective
plurality of      communications that are to be associated with a respective resource selected from
respective        multiple resources.
communications
for association   For example, the Teledyne FLIR customer service platform receives multiple incoming
with a            calls (e.g. including phone calls, SMS and live chats) from customers requesting support
respective        or information. Each incoming call is to be assigned, by the customer service platform, to
resource          a call center specialist or agent who can help the customer with the customer’s request
selected from a   or ticket raised.
plurality of
resources;




                  Source: Service and Support | Teledyne FLIR




                                                    4
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  Source: Support : GSO Customer support central (flir.com)




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  Source: Submit a ticket : GSO Customer support central (flir.com)




                                     6
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                  Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                  Source: Tech Support Phone Lines (custhelp.com)
identifying a     The Teledyne FLIR customer service platform identifies multiple resources that are




                                                     7
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plurality of       available for association with a respective communication and are capable of handling
resources          the respective communication. Each available resource has a limited quantitative
available for      capacity for association with multiple communications and an availability state.
association with
a respective       For example, the Teledyne FLIR customer service platform uses one or more of
communication      interactive voice responses (e.g. language), caller identification (e.g. user account
and capable of     profile) and customer relationship management information to determine the nature of a
handling the       call and thereby, the required skill of a call center agent to handle the call. Based on the
respective         required skill set, the customer service platform identifies call center agents (i.e.
communication,     resources) who possess the skill set and are therefore capable of handling the call. Those
each available     identified agents who are immediately, or will soon be, available to handle the call are
resource having    deemed by the customer service platform to be available to handle the call.
a limited
quantitative
capacity for
association with
multiple
communications
and an
availability
state;




                   Source: Service and Support | Teledyne FLIR




                                                      8
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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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   Source: The FLIR Hub.




   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                                     11
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   Source: Tech Support Phone Lines (custhelp.com)




                                     12
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calculating a      The Teledyne FLIR customer service platform calculates a respective score associated
respective score   with each available resource dependent on the availability state of a respective available
associated with    resource.
each available
resource           For example, for each available agent, the Teledyne FLIR customer service platform
dependent on       determines an estimated wait time that the caller will remain in a queue before the
the availability   agent can take the call (e.g. to prioritize urgent communications).
state of a
respective
available
resource;




                   Source: Service and Support | Teledyne FLIR




                                                     13
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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




                                     15
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                   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                   Source: Tech Support Phone Lines (custhelp.com)
estimating an      The Teledyne FLIR customer service platform estimates an expected economic value to




                                                     16
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expected           be obtained by associating each respective communication with each respective
economic value     available resource. The estimated economic value is dependent on at least the score and
to be obtained     a respective communication-content dependent value function of an outcome of a
by associating     respective communication associated with a respective available resource.
each respective
communication      For example, for a given call, the Teledyne FLIR customer service platform determines,
with each          from the group of available agents, an appropriate agent for handling the call. This
respective         determination is dependent on the estimated wait time before the call is routed to the
available          particular agent and how well the requirements of the call match the skill profile of the
resource,          particular expert or agent.
dependent on at
least the score
and a respective
communication-
content
dependent value
function of an
outcome of a
respective
communication
associated with
a respective
available
resource; and



                   Source: Service and Support | Teledyne FLIR




                                                    17
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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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                    Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




                    Source: Tech Support Phone Lines (custhelp.com)
assigning each      The Teledyne FLIR customer service platform assigns each of the multiple respective




                                                      20
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of the plurality   communications to one of the multiple resources based on at least the estimated
of respective      expected economic value to be obtained by associating each respective communication
communications     with each respective resource.
to one of the
plurality of       For example, based on the estimated expected economic value by phone-based surveys
resources based    and customer satisfaction, the Teledyne FLIR Customer Service system selects a call
on at least the    center expert or agent to handle the call and connects that expert or agent with the
estimated          caller.
expected
economic value
to be obtained
by associating
each respective
communication
with each
respective
resource.




                   Source: Service and Support | Teledyne FLIR




                                                    21
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   Source: Support : GSO Customer support central (flir.com)




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   Source: Submit a ticket : GSO Customer support central (flir.com)




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   Source: service desk tutorial | Teledyne Geospatial (teledynecaris.com)




   Source: Tech Support Phone Lines (custhelp.com)




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